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AT 8:30 M
WILLIAM T. WALSH
CLERK

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA Hon. Brian R. Martinotti

v Crim. No. 3:18-cr-00757-BRM
STEVEN BRADLEY MELL ORDER TO AMEND JUNE 19, 2018
a/k/a BRADLEY MELL RELEASE CONDITIONS

 

 

This matter having come before the Court on the application of Steven Bradley Mell (by
David J. Bruno, Esq. of the Bianchi Law Group, LLC) for an order amending the release
conditions entered in the above-captioned matter by Hon. Cathy Waldor on June 19, 2018 to
allow for one-time travel exception for a limited period of time to be determined by United
States Pretrial Services for Mr. Mell to travel to Bank of America at 1 Washington St., Rocky
Hill, NJ 08593 to conduct business that can only be done in person at the branch. Specifically, to
close financial accounts no longer in use and add a power of attorney to personal accounts for the
purpose of paying bills during the duration of his sentence; and the Government, through
Assistant United States Attorney Danielle Alfonzo Walsman, having consented to the

amendment; and for good and sufficient cause shown;
Ae
IT IS on this ; L day of March 2019;

ORDERED that the June 19, 2018 release conditions shall be amended to allow the
Defendant to travel to Bank of America at 1 Washington St., Rocky Hill, NJ 08593.

IT IS FURTHER ORDERED that above mentioned travel exceptions to the hme 19,
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2018 release conditions are dimiled to ene time and United States Pretwial Services shall

determine the date. tine and duration of the uavel.

  
 

AC BRIAN R. Spout. mr

 

DAVID J. BRUNO
Counsel for Defendant Steven Bradley Mel]

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DANIELLE ALEQNZO WALSMAN
Assistant United Sates Attorney
